Case 3:21-cv-15690-FLW-LHG Document 21 Filed 06/30/22 Page 1 of 1 PageID: 1144



                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 OHIO SECURITY INSURANCE COMPANY,
                 Plaintiff,


          v.                                           Civil Action No. 21-15690 (FLW)

 PREMIUM FOOD GROUP, INC. and NUT                                   ORDER
 CRAVINGS, INC.,

                    Defendants.



       THIS MATTER having been opened to the Court upon a motion to dismiss for lack of

personal jurisdiction by Mark Berkowitz Esq., counsel for defendants Premium Food Group, Inc. and

Nut Cravings Inc. [ECF No. 12]; it appearing that plaintiff Ohio Security Insurance Company, by

and through its counsel, Richard J. Barca, Esq., opposes the Motion [ECF No. 13]; the Court having

considered the submissions of the parties pursuant to Federal Rule of Civil Procedure 78, and for

good cause shown,

       IT IS on this 30th day of June, 2022:

       ORDERED that Defendants’ Motion to Dismiss is GRANTED; and it is further

       ORDERED that in lieu of dismissal, this case is transferred to the United States District

Court for the Southern District of New York pursuant to 28 U.S.C. § 1406, where personal

jurisdiction exists over both Defendants.



                                                                  /s/ Freda L. Wolfson
                                                                  Hon. Freda L. Wolfson
                                                                  U.S. Chief District Judge




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